                        Case 5:11-cv-01846-LHK Document 847-69 Filed 04/02/12 Page 1 of 2




                   1

                   

                   

                   

                   

                   

                   

                   

                                               UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 

                  APPLE INC., a California corporation,         CASE NO. 11-cv-01846-LHK

                                 Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                                  SAMSUNG'S ADMINISTRATIVE
                          vs.                                   MOTION TO FILE DOCUMENTS
                                                                  UNDER SEAL
                  SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                  ELECTRONICS AMERICA, INC., a New
                    York corporation; SAMSUNG
                  TELECOMMUNICATIONS AMERICA,
                    LLC, a Delaware limited liability company,
                 
                                  Defendant.
                 

                 

                 

                 

                 

                 

                 

                 

                 

                 
02198.51855/4687131.1                                                               Case No. 11-cv-01846-LHK
                            [PROPOSED] ORDER GRANTING SAMSUNG'S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
                                                                                                UNDER SEAL
                        Case 5:11-cv-01846-LHK Document 847-69 Filed 04/02/12 Page 2 of 2




                   1         In accordance with Civil L.R. 7-11 and 79-5, and General Order No. 62, Samsung

                    Electronics Co. Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications

                    America, LLC (collectively, “Samsung”) move for an order to seal the following documents:

                               1. The confidential, unredacted version of Samsung’s Opposition to Apple’s Motion

                                     for Partial Summary Judgment.

                               2. The confidential, undedacted version of the Declaration of David Hecht in Support

                                     of Samsung’s Opposition.

                               3. Exhibits H, J1-J11, K1-K3, M, P1-P2, and S1-S2 to the Declaration of David Hecht

                                     in Support of Samsung’s Opposition.

                           Having considered the arguments of the parties and the papers submitted, and GOOD

                  CAUSE HAVING BEEN SHOWN, the Court hereby GRANTS Samsung’s Administrative

                  Motion to File Under Seal.

                           IT IS SO ORDERED.

                 

                           Dated:                                         By:                          _________
                                                                                  Honorable Lucy H. Koh
                                                                                United States District Court Judge
                 

                 

                 

                 

                 

                 

                 

                 

                 

                 

                 

                 
02198.51855/4687131.1
                                                                                    Case No. 11-cv-01846-LHK
                            [PROPOSED] ORDER GRANTING SAMSUNG'S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
                                                                                                UNDER SEAL
